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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA       )
                                )
          v.                    ) CAUSE NO. 3:09-CR-00011 RM
                                )
 MIGUEL ANGEL PULE-DELGADO (03) )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on May 4, 2009. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 59], ACCEPTS

 defendant Miguel Pule-Delgado’s plea of guilty, and FINDS the defendant guilty

 of Count 3 of the Indictment, in violation of 21 U.S.C. § 841(a)(1).

       SO ORDERED.

       ENTERED:       June 1, 2009



                                 /s/ Robert L. Miller, Jr.
                                Chief Judge
                                United States District Court
